        Case 2:21-cv-06240-PA-JEM Document 29 Filed 10/12/21 Page 1 of 1 Page ID #:160
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    SPENCER NEUMANN
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
GARY CHENG, Individually and on                                                CASE NUMBER:

behalf of all others similarly situated,                                                         2:21-cv-06240-PA-JEM
                                                              Plaintiff(s),
                                     v.
ACTIVISION BLIZZARD, INC., ROBERT A.
                                                                                              CERTIFICATION AND NOTICE
KOTICK, DENNIS DURKIN, AND SPENCER
                                                                                                OF INTERESTED PARTIES
NEUMANN                                                                                             (Local Rule 7.1-1)
                                                             Defendant(s)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                               SPENCER NEUMANN
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                      CONNECTION / INTEREST
GARY CHENG                                                                    Plaintiff

ACTIVISION BLIZZARD, INC.                                                     Defendant
ROBERT A. KOTICK                                                              Defendant
DENNIS DURKIN                                                                 Defendant
SPENCER NEUMANN                                                               Defendant




         October 12, 2021                                  /s/ Craig Varnen
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           SPENCER NEUMANN


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
